           Case 22-60051 Document 82 Filed in TXSB on 03/07/24 Page 1 of 2




                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                VICTORIA DIVISION

IN RE:                                           §           CHAPTER 7
                                                 §
                                                 §
ANCHOR DEVELOPMENT GROUP, LLC                    §           CASE NO. 22-60051 (CML)
                                                 §
DEBTOR                                           §

         NOTICE TO COURT OF FILING BANKRUPTCY 7502 HARRISBURG, LLC

TO THE HONORABLE JUDGE CHRISTOPHER M. LOPEZ:

PLEASE TAKE NOTICE THAT 7502 Harrisburg, LLC. once again filed bankruptcy to stop

the foreclosure of the Church Property. The case number 24-31002.


On January 31, 2024, Albert Ortiz on behalf of 7502 Harrisburg, LLC filed its Emergency

Motion for an Order to Lift Stay on its property (“Church Property”). After hearing the matter

and noting that the Court had previously lifted the stay on the property, this Court entered an

Order dck #75 allowing Texas Funding Corporation to again post the Church Property for

February foreclosure with the specific instruction to counsel that the Court be notified if 7502

Harrisburg LLC filed bankruptcy again1 prior to foreclosure of the Church Property to stop the

foreclosure.




Dated: March 7, 2024



1   (case number 23-34813 filed December 6, 2023 dismissed Dec 12, 2023)

                                                 1
        Case 22-60051 Document 82 Filed in TXSB on 03/07/24 Page 2 of 2




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                                        ATTORNEYS FOR CREDITOR
                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document was duly served
by the Electronic Case Filing System for the United State Bankruptcy Court for the Southern
District of Texas on March 7, 2024.



            /s/ Edgar A.Goldberg

          Edgar A. Goldberg




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